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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION
__________________________________________
Caron Nazario                                 :
                                              :
                                   Plaintiff, :
                                              :
v.                                            : Civil Action No. 2:21-cv-00169
                                              :
Joe Gutierrez,                                : JURY DEMANDED BY
In his personal capacity                      : PLAINTIFF
                                              :
and                                           :
                                              :
Daniel Crocker                                :
In his personal capacity,                     :
                                              :
                                  Defendants. :

                              MOTION TO STAY PROCEEDINGS


        Now Comes Defendant Daniel Crocker, by counsel, and moves to stay proceedings on the

Complaint filed by Plaintiff Caron Nazario (“Nazario”) until the completion of ongoing state and

federal investigations, or in the alternative, for a period of ninety days, pursuant to Rule 7(b) of the

Federal Rules of Civil Procedure, for the reasons set forth in the accompanying memorandum of law.

        Respectfully submitted 17th day of May, 2021.


                                              DANIEL CROCKER

                                        By: ___/s/ Anne C. Lahren__________
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this the 17th day of May, 2021, I will electronically file the foregoing
MOTION TO STAY PROCEEDINGS with the Clerk of Court using the CM/ECF system, which
will then notification of such electronic filing (NEF) to the following:

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